     Case 3:18-cv-00925-JLS-MSB Document 162 Filed 11/09/20 PageID.5504 Page 1 of 2



 1
 2
 3
 4
 5
 6
 7                            UNITED STATES DISTRICT COURT
 8                           SOUTHERN DISTRICT OF CALIFORNIA
 9
10     AMERICAN CLAIMS MANAGEMENT,                        Case No.: 18-CV-925 JLS (MSB)
       INC.,
11
                                         Plaintiff,       ORDER GRANTING JOINT
12     v.                                                 MOTION FOR STAY OF
                                                          EXECUTION AND APPROVAL
13
       ALLIED WORLD SURPLUS LINES                         OF APPEAL BOND
14     INSURANCE COMPANY (f/k/a Darwin
       Select Insurance Company),
15                                                        (ECF No. 161)
                                       Defendant.
16
17          Presently before the Court is the Parties’ Stipulation and Joint Motion for Stay of
18    Execution and Approval of Appeal Bond (ECF No. 161). In accordance with Federal Rule
19    of Civil Procedure 62(b) and Southern District of California Civil Local Rule 65.1.2, the
20    Court GRANTS the Motion and APPROVES the appeal bond attached as Exhibit A to
21    the Motion. Plaintiff will deposit the original bond with the clerk’s office within five (5)
22    business days after entry of this Order. Execution on the judgment entered in this action
23    on October 6, 2020 (see ECF No. 153), including any proceedings to enforce the judgment,
24    ///
25    ///
26    ///
27    ///
28    ///

                                                      1
                                                                                18-CV-925 JLS (MSB)
     Case 3:18-cv-00925-JLS-MSB Document 162 Filed 11/09/20 PageID.5505 Page 2 of 2



 1    are hereby STAYED pending determination of Plaintiff’s appeal of the judgment to the
 2    United States Court of Appeals for the Ninth Circuit.
 3          IT IS SO ORDERED.
 4    Dated: November 9, 2020
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                  2
                                                                          18-CV-925 JLS (MSB)
